     Case: 1:17-cr-00281 Document #: 58 Filed: 11/21/18 Page 1 of 3 PageID #:172




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                            )
          Plaintiff,                                 )
                                                     )
v.                                                   )       No. 17 CR 281
                                                     )
                                                     )       Hon. Elaine E. Bucklo
CARLOS MEZA,                                         )
         Defendant.                                  )

                                         EXHIBIT LIST

       NOW COMES Carlos Meza, by and through his attorneys, Joshua Kutnick and Mina
Zardkoohi, and respectfully submits the following exhibits for trial:


       Exhibit 1:     An April 5, 2013 Virginia Worldwide Group, LLC Commitment Letter to
                      Milwaukee McPherson LLC.
       Exhibit 2:     An April 24, 2013 Virginia Worldwide Group, LLC letter to Milwaukee
                      McPherson LLC with respect to CARCO LLC.
       Exhibit 3:     A March 12, 2014 email from Carlos Meza to Larry Gelfond.
       Exhibit 4:     A March 6, 2014 email from Carloz Meza to Larry Gelfond.
       Exhibit 5:     A March 6, 2012 text message from Scott Spencer to Carlos Meza.
       Exhibit 6:     March 14, 2012 text messages from Scott Spencer to Carlos Meza.
       Exhibit 7:     A March 21, 2012 text message from Scott Spencer to Carlos Meza.
       Exhibit 8:     A June 11, 2012 text message from Scott Spencer to Carlos Meza.
       Exhibit 9:     June 12, 2012 text messages between Scott Spencer and Carlos Meza.
       Exhibit 10:    A June 19, 2012 text message from Scott Spencer to Carlos Meza.
       Exhibit 11:    A July 20, 2012 text message from Scott Spencer to Carlos Meza.
       Exhibit 12:    July 24 and July 26, 2012 text messages from Scott Spencer to Carlos
                      Meza.
       Exhibit 13:    An August 22, 2012 text message from Carlos Meza to Scott Spencer.
       Exhibit 14:    September 19, 2012 text messages from Scott Spencer to Carlos Meza.
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    Case: 1:17-cr-00281 Document #: 58 Filed: 11/21/18 Page 2 of 3 PageID #:173




      Exhibit 15:   An undated email from Scott Spencer to Carlos Meza regarding 20 Lake
                    Marian Road property.
      Exhibit 16:   A June 13, 2016 Limited Liability Company Authorization Resolution for
                    Performance Crane & Excavating, LLC.
      Exhibit 17:   An October 17, 2012 Mortgage between Scott Spencer and ALSJ, Inc.
      Exhibit 18:   An April 17, 2013 Participation Agreement between CARCO LLC and
                    Milwaukee McPherson.
      Exhibit 19:   A July 8, 2013 Participation Agreement between CARCO LLC and
                    Consultek Sales.

                                                             Respectfully submitted,

                                                              /s/ Joshua B. Kutnick
                                                              /s/Mina Zardkoohi
                                                              Attorneys for Defendant




Joshua B. Kutnick
900 West Jackson Blvd., Ste. 5W
Chicago, IL 60607
312-441-0211
jkutnick@gmail.com

Mina Zardkoohi
53 W. Jackson #1615
Chicago, Illinois 60604
(708) 613-7975
mina.zardkoohi@gmail.com




                             CERTIFICATE OF SERVICE
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    Case: 1:17-cr-00281 Document #: 58 Filed: 11/21/18 Page 3 of 3 PageID #:174




       I hereby certify that foregoing Carlos Meza’s witness list was served on November 21,
2018, in accordance with Fed.R.Crim.P.49, Fed.R.Civ.P.5, LR 5.5, and the General Order on
Electronic Case Filing (ECF) pursuant to the district court's system as to ECF Filers.



                                                          /s/Mina Zardkoohi
                                                          Mina Zardkoohi
                                                           53 W. Jackson #1615
                                                          Chicago, Illinois 60604
                                                          (708) 613-7975




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